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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 DEBORAH LACY,

                        Plaintiff,               Civil Action No. 22-3537 (JMC)

         v.

 TENNESSEE CIVIL RULE 15G THIRD
 PARTY, et al.,

                        Defendants.

                                     MEMORANDUM OPINION

       Deborah Lacy, proceeding pro se, filed a civil complaint against an unidentified

“Tennessee Civil Rule 15g Third Party,” an individual named Dave Ramsey, the Appellate Court

of Middle Tennessee, the State of Tennessee, and a local mayor. Lacy makes various allegations

centered around an enormous, $10.5 billion settlement, which Lacy alleges was stolen by

Defendants. For the reasons described below, the Court DISMISSES the complaint sua sponte.

However, the Court grants Lacy leave to refile, within 30 days, an amended complaint that cures

the existing deficiencies.

       I.      Background

       On November 16, 2022, Deborah Lacy filed a 24-page, handwritten Complaint. ECF 1. On

November 29, December 1, December 5, and December 12, she filed four handwritten “Errata,”

each of which purported to make amendments to the Complaint. ECF 3, 4, 5, and 7. For the sake

of completeness, the Court considers these documents, together, to be Lacy’s Complaint.

       The handwriting in Lacy’s Complaint is not always legible, and her allegations are

sometimes difficult to untangle. As an initial matter, “Tennessee Civil Rule 15g Third Party”

appears to refer to Tenn. Ct. App. R. 15(g), which governs who may examine and/or withdraw


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documents filed under seal, and under what conditions. See ECF 1-1 at 5. Plaintiff refers to

Defendant as “Tennessee Civil Rule 15g Third Party” because, she alleges, she filed a motion in a

state proceeding to view sealed documents to learn that individual’s identity, and the motion was

denied. Id. The gravamen of Lacy’s Complaint appears to be that, due to to injuries she sustained

at the hands of state doctors (a broken thumb and a “split in my heart,” 1 ECF 1 at 11), she was

awarded a $10.5 billion settlement, which Defendants colluded to fraudulently steal and distribute

to others. ECF 1 at 6–7, 18. As a remedy, Lacy asks the Court to compel Defendants to convert

their ill-gotten gains back into cash and to return the money to her, id. at 21, along with unspecified

punitive damages, id. at 6. Lacy alleges various causes of action including theft, fraud, forgery,

money laundering, and a violation of the False Claims Act. Id. at 7, 11; ECF 1-2 at 1. She also

alleges unspecified violations of her civil rights. ECF 1 at 12; ECF 3 at 3.

         II.      Analysis

         Federal Rule of Civil Procedure 8(a)(2) requires civil complaints to include “a short and

plain statement of the claim showing that the pleader is entitled to relief.” It does not demand

“detailed factual allegations,” but it does require enough factual information “to raise a right to

relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). These

procedural requirements promote fairness in litigation—Rule 8(a) is intended to “give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.” Id. (citing

Conley v. Gibson, 355 U.S. 41, 47 (1957)). Federal Rule of Civil Procedure 10(b) requires a

complaint to “state its claims . . . in numbered paragraphs, each limited as far as practicable to a




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  Those injuries appear to align with those alleged by Lacy in state court in a different case (an order from which is
included as an exhibit to her Complaint, ECF 1-1 at 5). See Lacy v. Meharry Gen. Hosp., No. M2021-632-COA-R3-
CV, 2022 WL 2981508, at *1 (Tenn. Ct. App. July 28, 2022). In those proceedings, the trial court granted summary
judgment for the defendant, which the Court of Appeals of Tennessee affirmed. Id.at *8.



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single set of circumstances.” Pleadings filed by pro se litigants are held to less stringent standards

than those applied to formal pleadings drafted by lawyers. See Haines v. Kerner, 404 U.S. 519,

520 (1972). But even pro se litigants must comply with the Federal Rules of Civil Procedure.

           Lacy’s complaint fails to meet that standard. Lacy does not explain the provenance of the

alleged $10.5 billion settlement. Nor does the Court find it plausible that any entity, especially an

insurance company, would agree to pay an individual such an enormous settlement for any injury,

let alone those alleged. Lacy alleges that the settlement money was stolen from her, but does not

clearly state by whom or by what mechanism that theft occurred. That makes it impossible to

determine the factual basis of her claims. Moreover, Lacy fails to provide Defendants with notice

as to the grounds for her Complaint, bouncing between various causes of action throughout the

document. 2 The Court is skeptical that it has subject matter jurisdiction in this case, but without

clarity about Lacy’s allegations and causes of action, the Court cannot determine whether this case

can proceed. Finally, Lacy’s Complaint fails to “state its claims . . . in numbered paragraphs” as

required by Fed. R. Civ. P. 10(b). A Defendant tasked with answering the Complaint would not

know where to begin.

           Lacy’s Complaint is therefore dismissed for failure to comply with Fed. R. Civ. P. 8(a)(2)

and 10(b). The Court acknowledges that dismissing a case sua sponte is an unusual step, but the

Court has the authority to do so when a plaintiff fails to comply with procedural rules. See, e.g.,

Brown v. Washington Metro. Area Transit Auth., 164 F. Supp. 3d 33, 35 (D.D.C. 2016) (dismissing

a complaint sua sponte for failing to comply with FRCP 8(a)); Hamrick v. United States, No. 10-

857, 2010 WL 3324721, at *1 (D.D.C. Aug. 24, 2010) (same); see also Ciralsky v. CIA, 355 F.3d




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    The only cause of action checked off on the Civil Cover Sheet is the False Claims Act. See ECF 1-2.



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661, 668–69, 671 (D.C. Cir. 2004) (finding no abuse of discretion where a district

court dismissed a claim without prejudice for failure to comply with Rule 8(a)).

       The Court grants Lacy leave to refile within 30 days an amended complaint that cures the

existing deficiencies. However, if Lacy fails to file an amended complaint within that timeframe

or files an amended complaint that merely recycles the complaint presently before the Court, her

case may be dismissed with prejudice. See Brown, 164 F. Supp. 3d at 35. Lacy’s allegations must

be contained in a single document; “errata” filed as standalone documents will not be accepted.

Finally, should Lacy opt to refile, the Court reminds her that, under the Eleventh Amendment, “a

State will . . . not be subject to suit in federal court unless it has consented to suit,” Blatchford v.

Native Vill. of Noatak & Circle Vill., 501 U.S. 775, 779 (1991), or unless Congress has expressly

abrogated its immunity pursuant to the Fourteenth Amendment, Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 99 (1984). If Lacy chooses to replead her claims against the State of

Tennessee or its courts, her Complaint must include a “short and plain statement of the grounds”

on which the Court could exercise jurisdiction over those claims. Fed. R. Civ. P. 8(a)(1).

       III.    Conclusion

       Plaintiff’s Complaint, ECF 1, is DISMISSED, but she is granted leave to refile within 30

days an amended complaint. A separate order accompanies this Memorandum Opinion.


       SO ORDERED.

       DATE: December 16, 2022



                                                               Jia M. Cobb
                                                               U.S. District Court Judge




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